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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786
Plaintiff, AFFIDAVIT OF
SERVICE
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

 

Defendants.
x
STATE OF NEW YORK }
1 esi
COUNTY OF NASSAU \

I, Lee Pakulsky, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1*t day of December 2020, I served the SUMMONS and COMPLAINT was served

upon:

100 BROAD STREET, LLC a/k/a ESSEN FOOD
100 Broad Street
New York, NY 10004

Service:
I served the papers by serving 100 BROAD STREET, LLC a/k/a ESSEN FOOD, 100 Broad

Street, New York, New York 10004.
By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at

the Defendant’s actual place of business noted above.

Description:
The individual I served had the following characteristics: Male, Asian, Brown eyes, Black
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Hair, approximately 40-45 years of age, approximately 5°10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States

Government at Manhasset, County of Nassau, State of New York.
Name:

Sworn to before me this Lee Pakulsky.

 

 

 

Notary Public
TIMOTHY J. FIERST
Notary Public, State of New York
No, 02F14978999
Qualified in Nassau County

Commission Expires ar
+ (7/22
